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                       UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF ILLINOIS (EAST ST LOUIS)
IN RE:
 MATTHEW BRANDON BOHNENSTIEHL                         Case No. 21-30123-lkg
 AKA MATTHEW B BOHNENSTIEHL
 AKA MATTHEW BOHNENSTIEHL                             Chapter 13
 AKA MATT BOHNENSTIEHL
                           Debtor,                    Judge Laura K. Grandy
 U.S. BANK NATIONAL ASSOCIATION
                             Movant,

 MATTHEW BRANDON BOHNENSTIEHL
 AKA MATTHEW B BOHNENSTIEHL
 AKA MATTHEW BOHNENSTIEHL
 AKA MATT BOHNENSTIEHL, DEBTOR,
 RUSSELL C SIMON, CHAPTER 13
 TRUSTEE,
                         Respondents.


                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY


        NOW COMES U.S. Bank National Association (hereinafter "Movant"), by and through its
attorneys, CODILIS & ASSOCIATES, P.C. and moves this Honorable Court pursuant to 11 U.S.C.
§362(d) for an Order granting Creditor relief from the automatic stay with respect to certain real
property of the Debtor(s) having an address of 607 W Washington St., O Fallon, Illinois 62269
(the “Property”). In further support of this motion, Movant respectfully states:


        1.   This Court has jurisdiction pursuant to 28 U.S.C. §1334 and venue is fixed in this
Court pursuant to 28 U.S.C. §1409;


        2.   Debtor filed a petition under Chapter 13 of Title 11, United States Bankruptcy Code
on 2/25/2021;


        3.   The Debtor has executed and delivered or is otherwise obligated with respect to that
certain promissory Note executed on 10/16/2014. The Movant is an entity entitled to enforce the
Note;
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       4.    Pursuant to that certain Mortgage, recorded with the Recorder of Deeds of St. Clair
County Illinois as Document No. AXXXXXXXX, all obligations (collectively, the “Obligations”) of
the Debtor under and with respect to the Note and the Mortgage are secured by the Property (see
attached);


       5.    Enforcement of this security interest has been stayed automatically by operation of
11 U.S.C. §362 of the Bankruptcy Code;


       6.    On information and belief, the following persons may have an interest in the subject
property:    Matthew Brandon Bohnenstiehl aka Matthew B Bohnenstiehl aka Matthew
Bohnenstiehl aka Matt Bohnenstiehl, Debtor, and Russell C Simon , Chapter 13 Trustee;


       7.    As of 5/16/2022, the estimated amount currently due Movant, on account of said
note and mortgage is $76,132.65 and includes:
             Unpaid Principal Balance                                       $74,092.46
             Accrued Interest from 12/1/21 to 5/16/22                        $1,271.88
             Escrow Advance                                                  $1,244.14
             Pro Rata MIP/PMI                                                   $79.17
             Total-Fees                                                         $45.00
             Suspense Balance                                                ($600.00)

       8.    On information and belief, the approximate value of real estate is $108,512.00, per
Debtor's Schedules;


       9.    The Chapter 13 plan herein provides for the cure of the default of said mortgage and
maintenance of current payments during the pendency of the proceeding;


       10. Pursuant to the plan, Debtor is to disburse the current monthly mortgage payments
directly to Movant beginning with the first payment due after the filing of the Chapter 13
Bankruptcy (subject to periodic adjustment to due change in escrow, interest, etc);
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       11. Movant is entitled to relief from the automatic stay under 11 U.S.C. §362(d) for the
following reasons:


                     (a)       As of 5/16/2022, the Debtor is past due for the 1/1/2022, and all
             amounts coming due since that date. Any payments received after this date may not
             be reflected in this default;


                     (b)   As of 5/16/2022, the total post-petition default through and including
             5/1/2022, is $4,978.60, which includes a suspense credit of $600.00. Any payments
             received after this date may not be reflected in this default. This amount includes
             post-petition attorney fees in the amount of $1,238.00;


                     (c)   On 6/1/2022, the default will increase to $5,846.72 and will continue
             to increase as additional amounts become due;


       12. Said failure to make post-petition mortgage payments is sufficient grounds for relief
from the automatic stay for cause pursuant to 11 U.S.C. Section 362(d) (1);


       13. The Court has authority to order that Rule 4001(a)(3) is not applicable to the order
entered in granting this motion, and Creditor requests this Court so order;

       14. Movant has incurred attorney fees and/or costs in connection with this bankruptcy
proceeding which are included in the calculation of any default figures quoted herein, including:
               $1,050.00       for Preparation of Notice and Motion for Relief from the
           Automatic Stay, and prosecution of same
               $188.00         for Court filing fee


       15. Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The
promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly
or through an agent, has possession of the promissory note. Creditor is the original mortgagee or
beneficiary or the assignee of the mortgage or deed of trust.
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         WHEREFORE, U.S. Bank National Association its principals, agents, successors and/or
assigns prays this Court enter an Order pursuant to 11 U.S.C. §362(d) modifying the automatic
stay of this proceeding, allowing the fees and costs described herein to be added to the
indebtedness pursuant to the terms of the note and mortgage, and for such other and further relief
as this Court may deem just and proper.

         Dated this May 31, 2022.
                                                     Respectfully Submitted,

                                                     CODILIS & ASSOCIATES, P.C.


                                                     By: /s/ Joel P. Fonferko

                                                         Berton J. Maley ARDC#6209399
                                                         Rachael A. Stokas ARDC#6276349
                                                         Peter C. Bastianen ARDC#6244346
                                                         Joel P. Fonferko ARDC#6276490
                                                         Brenda Ann Likavec ARDC#6330036
                                                         MaryAnn G. Black #59899MO
                                                         CODILIS & ASSOCIATES, P.C.
                                                         15W030 North Frontage Road, Suite 100
                                                         Burr Ridge, IL 60527
                                                         (630) 794-5300


NOTE: This law firm is a debt collector.
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 AKA MATT BOHNENSTIEHL, DEBTOR,
 RUSSELL C SIMON, CHAPTER 13
 TRUSTEE,
                         Respondents.

                             STATEMENT OF PARTIES THAT MAY HAVE
                             AN INTEREST IN THE SUBJECT PROPERTY

On information and belief, the following persons may have an interest in the subject property:

Russell C Simon, Chapter 13 Trustee

Dated this May 31, 2022.

                                                         /s/ Joel P. Fonferko
                                                           Attorney for Creditor
Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
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 AKA MATTHEW B BOHNENSTIEHL
 AKA MATTHEW BOHNENSTIEHL
 AKA MATT BOHNENSTIEHL, DEBTOR,
 RUSSELL C SIMON, CHAPTER 13
 TRUSTEE,
                         Respondents.

                                 CERTIFICATE OF SERVICE
        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on May 31, 2022 and as to the debtor by causing same to be mailed
in a properly addressed envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL
60527 before the hour of 5:00 PM on May 31, 2022.

Russell C Simon, Chapter 13 Trustee, 24 Bronze Pointe, Swansea, IL 62226 by electronic notice through ECF
Matthew Brandon Bohnenstiehl aka Matthew B Bohnenstiehl aka Matthew Bohnenstiehl aka Matt
Bohnenstiehl, Debtor, 607 W. Washington St, O Fallon, IL 62269
Jerry D Graham, Jr, Attorney for Debtor, JD Graham PC, 1 Eagle Center, Suite 3A, O'Fallon, IL 62269 by
electronic notice through ECF
United States Trustee, Becker Bldg, Room 1100, 401 Main St., Peoria, IL 61602 by electronic notice through
ECF

                                                          /s/ Joel P. Fonferko
                                                            Attorney for Creditor
Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
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